Case 2:19-cv-01083-FMO-AGR Document 1 Filed 02/13/19 Page 1 of 8 Page ID #:1



 1   WAJDA LAW GROUP, APC
     Nicholas M. Wajda (State Bar No. 259178 )
 2   11400 West Olympic Boulevard
 3   Suite 200M
     Los Angeles, California 90064
 4   Telephone: 310-997-0471
     Facsimile: 866-286-8433
 5   E-Mail: nick@wajdalawgroup.com
     Attorney for the Plaintiff
 6

 7                             UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA
 8                                   WESTERN DIVISON

 9                                                       Case No. 2:19-cv-01083
10
                                                         COMPLAINT FOR DAMAGES
      HECTOR M. ORTEGA,
11
                                                         1. VIOLATION OF THE TELEPHONE
                       Plaintiff,
12                                                       CONSUMER     PROTECTION      ACT
                v.                                       PURSUANT TO 47 U.S.C. § 227.
13

14    SMARTPAY LEASING, LLC,                             2. VIOLATION OF THE ROSENTHAL
                                                         FAIR DEBT COLLECTION PRACTICES
15                     Defendant.                        ACT, CAL. CIV. CODE § 1788 ET SEQ.

16                                                       JURY TRIAL DEMANDED
17
                                             COMPLAINT
18
            NOW COMES, HECTOR M. ORTEGA (“Plaintiff”), through his counsel, WAJDA LAW
19
     GROUP, APC, complaining as to the conduct of SMARTPAY LEASING, LLC (“Defendant”), as
20
     follows:
21

22                                          NATURE OF THE ACTION

23      1. Plaintiff brings this action seeking redress for violations of the Telephone Consumer
24   Protection Act (“TCPA”) pursuant to 47 U.S.C. §227 and violations of the Rosenthal Fair Debt
25
     Collection Practices Act (“RFDCPA”) pursuant to Cal. Civ. Code §1788.
26
                                           JURISDICTION AND VENUE
27
        2. This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331.
28
                                                     1
Case 2:19-cv-01083-FMO-AGR Document 1 Filed 02/13/19 Page 2 of 8 Page ID #:2



 1       3. Subject matter jurisdiction is conferred upon this Court by the TCPA and 28 U.S.C. §§1331
 2   and 1337, as the action arises under the laws of the United States. Supplemental jurisdiction exists
 3
     for the state law claim pursuant to 28 U.S.C. §1367.
 4
         4. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Defendant conducts business
 5
     in the Central District of California, Plaintiff resides in the Central District of California, and a
 6

 7   substantial portion of the events or omissions giving rise to the claims occurred within the Central

 8   District of California.

 9                                                      PARTIES
10       5. Plaintiff is a natural person over 18-years-of-age who is a “person” as the term is defined
11
     by 47 U.S.C. §153(39).
12
         6. Defendant develops software that provides retail-leasing products to the mobile phone
13
     industry. Defendant’s principle office is located at 550 Kearny Street, Suite 320, San Francisco,
14

15   California 94108.

16                                      FACTS SUPPORTING CAUSE OF ACTION

17       7. Prior to the conduct giving rise to this cause of action, Plaintiff leased four phones (“subject
18   debt”) from a Boost-mobile retail store through Defendant.
19
         8. Plaintiff was making timely payments on the subject debt until he could no longer afford
20
     paying the subject debt, resulting in default.
21
         9. In or around December 2018, Plaintiff began receiving calls to his cellular telephone
22

23   number (562) XXX-0610 from Defendant.

24       10. At all times relevant to the instant action, Plaintiff was the sole subscriber, owner, possessor,

25   and operator of his cellular telephone ending in 0610.
26
         11. Immediately after the calls began, Plaintiff answered a phone call to his cellular telephone
27
     from a representative of Defendant. Defendant repeatedly requested that Plaintiff make a payment
28
                                                         2
Case 2:19-cv-01083-FMO-AGR Document 1 Filed 02/13/19 Page 3 of 8 Page ID #:3



 1   on the subject debt.
 2      12. On January 29, 2019, Plaintiff demanded that Defendant stop calling him. Plaintiff also
 3
     informed Defendant that he is represented by an attorney and gave Defendant his attorney’s
 4
     information.
 5
        13. Plaintiff’s demands that Defendant cease placing calls to his cellular phone fell on deaf ears
 6

 7   and Defendant continued its phone harassment campaign.

 8      14. Notwithstanding Plaintiff’s requests that Defendant’s calls cease, Defendant placed or

 9   caused to be placed numerous harassing calls to Plaintiff’s cellular telephone between December
10
     2018 and present day.
11
        15. In the calls that Plaintiff did answer, Plaintiff was greeted by a noticeable period of “dead
12
     air” while Defendant’s automated telephone system attempted to connect Plaintiff to a live agent.
13
        16. Specifically, there would be an approximate 2 second pause between the time Plaintiff said
14

15   “hello,” and the time that a live agent introduced them self as a representative of Defendant.

16      17. Moreover, Plaintiff also heard what sounds to be call center noise in the background of
17   Defendant’s phone calls.
18
        18. Upon information and belief, Defendant placed its calls to Plaintiff’s cellular telephone
19
     using an automated telephone dialing system that is commonly used in the debt collection industry
20
     to collect defaulted debts.
21

22      19. The phone number that Defendant most often uses to contact Plaintiff is (855) 640-6670,

23   but upon information and belief, it may have used other phone numbers to place calls to Plaintiff’s

24   cellular telephone.
25

26

27

28
                                                       3
Case 2:19-cv-01083-FMO-AGR Document 1 Filed 02/13/19 Page 4 of 8 Page ID #:4



 1                                                DAMAGES
 2      20. Defendant’s unfair and harassing conduct has severely disrupted Plaintiff’s daily life and
 3
     general well-being.
 4
        21. Plaintiff has expended time consulting with his attorneys as a result of Defendant’s
 5
     unconscionable conduct.
 6

 7      22. Defendant’s phone harassment campaign and illegal collection activities have caused

 8   Plaintiff actual harm, including but not limited to, invasion of privacy, nuisance, intrusion upon and

 9   occupation of Plaintiff’s cellular telephone capacity, wasting Plaintiff’s time, increased risk of
10
     personal injury resulting from the distraction caused by the phone calls, aggravation that
11
     accompanies unsolicited debt collection calls, harassment, emotional distress, anxiety, loss of
12
     concentration, diminished value and utility of his telephone equipment and telephone subscription
13
     services, debilitating Plaintiff’s voicemail capacity, the wear and tear caused to his cellular
14

15   telephone, the loss of battery charge, the loss of battery life, and the per-kilowatt electricity costs

16   required to recharge his cellular telephone as a result of increased usage of his telephone services.
17          COUNT I – VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT
18
        23. Plaintiff restates and realleges paragraphs 1 through 22 as though fully set forth herein.
19
        24. Defendant placed or caused to be placed numerous non-emergency calls, including but not
20
     limited to the calls referenced above, to Plaintiff’s cellular telephone using an automatic telephone
21

22   dialing system (“ATDS”) without his prior consent in violation of 47 U.S.C. §227 (b)(1)(A)(iii).

23      25. The TCPA defines ATDS as “equipment which has the capacity...to store or produce

24   telephone numbers to be called, using a random or sequential number generator; and to dial such
25   numbers.” 47 U.S.C. §227(a)(1).
26
        26. Upon information and belief, based on the lack of prompt human response during the phone
27
     calls in which Plaintiff answered, Defendant used an ATDS to place calls to Plaintiff’s cellular
28
                                                        4
Case 2:19-cv-01083-FMO-AGR Document 1 Filed 02/13/19 Page 5 of 8 Page ID #:5



 1   telephone.
 2      27. Upon information and belief, the ATDS employed by Defendant transfers the call to a live
 3
     agent once a human voice is detected, thus resulting in a pause after the called party speaks into the
 4
     phone.
 5
        28. Defendant violated the TCPA by placing numerous harassing phone calls to Plaintiff’s
 6

 7   cellular telephone from December 2018 through the present day, using an ATDS without his prior

 8   consent.

 9      29. Any prior consent, if any, was revoked by Plaintiff’s verbal revocations.
10
        30. As pled above, Plaintiff was severely harmed by Defendant’s collection calls to his cellular
11
     telephone.
12
        31. Upon information and belief, Defendant has no system in place to document and archive
13
     whether it has prior consent to contact consumers on their cellular phones.
14

15      32. Upon information and belief, Defendant knew its collection practices were in violation of

16   the TCPA, yet continued to employ them to increase profits at Plaintiff’s expense.
17      33. Defendant, through its agents, representatives, vendors, subsidiaries, third party contractors,
18
     and/or employees acting within the scope of their authority acted intentionally in violation of 47
19
     U.S.C. §227(b)(1)(A)(iii).
20
        34. Pursuant to 47 U.S.C. §227(b)(3)(B), Defendant is liable to Plaintiff for a minimum of
21

22   $500.00 per call. Moreover, pursuant to 47 U.S.C. §227(b)(3)(C), Defendant’s willful and knowing

23   violations of the TCPA should trigger this Honorable Court’s ability to triple the damages to which

24   Plaintiff is otherwise entitled to under 47 U.S.C. §227(b)(3)(C).
25

26

27

28
                                                        5
Case 2:19-cv-01083-FMO-AGR Document 1 Filed 02/13/19 Page 6 of 8 Page ID #:6



 1   WHEREFORE, Plaintiff HECTOR M. ORTEGA respectfully requests that this Honorable Court:
         a. Declare that the practices complained of herein are unlawful and violate the
 2
                aforementioned statute;
 3
            b. Awarding Plaintiff damages of at least $500.00 per phone call and treble damages
 4
                pursuant to 47 U.S.C. §§ 227(b)(3)(B)&(C);
 5          c. Enjoining Defendant from contacting Plaintiff; and
 6          d. Award any other relief as the Honorable Court deems just and proper.
 7
           COUNT II – VIOLATIONS OF THE ROSENTHAL FAIR DEBT COLLECTION PRACTICES ACT
 8
        35. Plaintiff restates and realleges paragraphs 1 through 34 as though fully set forth herein.
 9
        36. Plaintiff is a “person” as defined by Cal. Civ. Code § 1788.2(g).
10
        37. The alleged subject debt is a “debt” and “consumer debt” as defined by Cal. Civ. Code §
11

12   1788.2(d) and (f).

13      38. Defendant is a “debt collector” as defined by Cal. Civ. Code § 1788.2(c).
14                a.Violation of Cal. Civ. Code § 1788.11(d)
15
        39. The RFDCPA, pursuant to Cal. Civ. Code § 1788.11(d), states that a debt collector may not
16
     cause “a telephone to ring repeatedly or continuously to annoy the person called.”
17
        40. Defendant violated the RFDCPA when it continuously called Plaintiff’s cellular telephone
18

19   after he notified it to stop calling. This repeated behavior of systematically calling Plaintiff’s

20   cellular telephone despite his demands was done with the purpose of annoying Plaintiff into paying

21   the subject debt.
22      41. Moreover, Defendant was told clearly to stop calling Plaintiff’s cellular telephone.
23
        42. Defendant disregarded these requests, and continued its calls to Plaintiff, with the goal of
24
     annoying Plaintiff into paying the subject debt.
25
            b. Violations of RFDCPA § 1788.11(e)
26

27      43. The RFDCPA, pursuant to Cal. Civ. Code § 1788.11(e), states that a debt collector may not

28   communicate “by telephone or in person, with the debtor with such frequency as to be unreasonable
                                                      6
Case 2:19-cv-01083-FMO-AGR Document 1 Filed 02/13/19 Page 7 of 8 Page ID #:7



 1   and to constitute a harassment to the debtor under the circumstances.”
 2       44. Defendant violated the RFDCPA when it continuously called Plaintiff’s cellular telephone
 3
     after he notified it to stop calling. This repeated behavior of systematically calling Plaintiff’s
 4
     cellular telephone despite his demands was unreasonable and harassing. The repeated contacts were
 5
     made with the hope that Plaintiff would succumb to the harassing behavior and ultimately make a
 6

 7   payment. The frequency and volume of calls, shows that Defendant willfully ignored Plaintiff’s

 8   pleas with the intent of harassing him.

 9       45. Furthermore, Defendant relentlessly contacted Plaintiff numerous times. Placing such
10
     voluminous calls in short succession constitutes conduct that is unreasonable and harassing in an
11
     attempt to harass Plaintiff into making payment in violation of the RFDCPA.
12
         46. Upon being told to stop calling, Defendant had ample reason to be aware that it should cease
13
     its harassing campaign of collection phone calls. Nevertheless, Defendant consciously chose to
14

15   continue placing calls to Plaintiff’s cellular telephone.

16   WHEREFORE, Plaintiff HECTOR M. ORTEGA respectfully requests that this Honorable Court:
17           a. Declare that the practices complained of herein are unlawful and violate the
18               aforementioned statute;
19           b. Award Plaintiff actual damages, pursuant to Cal. Civ. Code § 1788.30(a);
             c. Award Plaintiff statutory damages, pursuant to Cal. Civ. Code § 1788.30(b);
20
             d. Award Plaintiff costs and reasonable attorney fees as provided pursuant to Cal. Civ.
21
                 Code § 1788.30(c); and
22
             e. Award any other relief as the Honorable Court deems just and proper.
23
                                        DEMAND FOR JURY TRIAL
24

25           Pursuant to Fed. R. Civ. P. 38(b), Plaintiff demands a trial by jury of any and all issues in

26   this action so triable of right.

27

28
                                                         7
Case 2:19-cv-01083-FMO-AGR Document 1 Filed 02/13/19 Page 8 of 8 Page ID #:8



 1   Date: February 13, 2019                       Respectfully submitted,
 2

 3
                                                   By: /s/ Nicholas M. Wajda
 4
                                                   Nicholas M. Wajda
 5                                                 WAJDA LAW GROUP, APC
                                                   11400 West Olympic Boulevard
 6                                                 Suite 200M
 7                                                 Los Angeles, California 90064
                                                   Telephone: 310-997-0471
 8                                                 Facsimile: 866-286-8433
                                                   E-mail: nick@wajdalawgroup.com
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                           8
